     Case 1:08-cr-00348-JKB     Document 199   Filed 07/26/10       Page 1 of 6



                   IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                    *
CANDIS UNITA MACK,
pro se,                             *

     Petitioner,                    *

                                    *     CRIMINAL NO.: WDQ-08-0348
             v.                              CIVIL NO.: WDQ-10-1054
                                    *

UNITED STATES OF AMERICA,           *

                                    *
     Respondent.
                                    *

*    *       *      *     *    *    *     *     *      *        *       *      *

                              MEMORANDUM OPINION

     Candis Unita Mack pled guilty to conspiracy to distribute

and possess with intent to distribute cocaine and cocaine base

(“crack”).       On May 28, 2009, she was sentenced to 135 months

imprisonment.       Pending is Mack’s pro se motion to vacate, set

aside, or correct her sentence under 28 U.S.C. § 2255.                   The

Court has determined that no hearing is necessary.                  See Rule 8

of the Rules Governing § 2255 Proceedings.            For the following

reasons, Mack’s motion will be denied.

I.   Background

     In the February 12, 2009 Plea Letter--which Mack signed--

the parties stipulated under Fed. R. Crim. P. 11(c)(1)(C) that

because the offense involved at least 500 grams but less than 2
                                1
      Case 1:08-cr-00348-JKB   Document 199   Filed 07/26/10   Page 2 of 6



kilograms of cocaine, and at least 150 grams but less than 500

grams of crack, the base offense level was 32 and the appro-

priate sentence was 135 months.        Govt. Opp., Ex. 1 (Letter from

Assistant United States Attorney Christopher Romano to Assistant

Federal Public Defender Paula Xinis, Feb. 12, 2009).              Mack

entered her guilty plea on March 6, 2009, and was sentenced to

135 months imprisonment on May 28, 2009.

      On April 27, 2010, Mack moved to vacate, set aside, or

correct her sentence under 28 U.S.C. § 2255.           Paper No. 189.

II.   Analysis

      A. Mack’s Motion

      Mack makes two arguments in support of her § 2255 motion:

(1) the Court disregarded the Supreme Court’s decisions in

Kimbrough v. United States, 552 U.S. 85 (2007) and Spears v.

United States, 129 S. Ct. 840 (2009) in sentencing her and (2)

failed to apply the United States Sentencing Commission’s

revision of the Guidelines applying to crack.           Mack asks that

the Court “take the approach endorsed by Spears and ‘reject and

vary categorically from the crack-cocaine Guidelines based on a

policy disagreement with those Guidelines.’”           Mot. to Vacate 9

(quoting Spears, 129 S. Ct. at 844).

      Before addressing these arguments, it should be noted that

Mack does not dispute that the amount of crack involved in the

                                      2
    Case 1:08-cr-00348-JKB   Document 199   Filed 07/26/10   Page 3 of 6



offense of conviction--more than 150 grams--subjected her to a

mandatory minimum sentence of 10 years (120 months).            See 21

U.S.C. § 841(b)(iii).    Nothing in the Supreme Court decisions or

in the Guidelines amendment she cites alters the fact that the

Court was required to impose a sentence of at least 10 years.

Thus, Mack’s motion essentially requests a 15-month reduction of

her sentence.

          1. Kimbrough and Spears

     Kimbrough held that “under Booker, the cocaine Guidelines,

like all other Guidelines, are advisory only” and that “it would

not be an abuse of discretion for a district court to conclude

when sentencing a particular defendant that the crack/powder

disparity yields a sentence greater than necessary to achieve §

3553(a)’s purpose, even in a mine-run case.”         Kimbrough, 552

U.S. at 110.    Spears summarized Kimbrough’s effect by quoting

with approval a dissenting opinion of the lower court:

     [Kimbrough] established that even when a particular
     defendant in a crack cocaine case presents no special
     mitigating circumstances--no outstanding service to country
     or community, no unusually disadvantaged childhood, no
     overstated criminal history score, no post-offense
     rehabilitation--a sentencing court may nonetheless vary
     downward from the advisory guideline range. The court may
     do so based solely on its view that the 100-to-1 ratio
     embodied in the sentencing guidelines for the treatment of
     crack cocaine versus powder cocaine creates an unwarranted
     disparity within the meaning of § 3553(a), and is at odds
     with § 3553(a). The only fact necessary to justify such a
     variance is the sentencing court's disagreement with the

                                    3
       Case 1:08-cr-00348-JKB   Document 199   Filed 07/26/10   Page 4 of 6



       guidelines--its policy view that the 100-to-1 ratio creates
       an unwarranted disparity.

United States v. Spears, 533 F.3d 715, 719 (8th Cir. 2008)

(Colloton, J., dissenting) (citations omitted).1

       Mack appears to contend that the Court did not consider its

power to vary downward from the Guidelines when it sentenced

her.    She is incorrect.       As the Court stated at sentencing, it

had considered the factors under 18 U.S.C. § 3553(a)--including

the so-called crack/powder disparity under the Guidelines--and

had found that the agreed-upon sentence of 135 months was

sufficient, but not greater than necessary, to serve the

purposes enumerated in § 3553(a).         Mack’s disagreement with the

Court’s evaluation of the § 3553(a) factors is not a basis for

relief under § 2255.

             2. Failure to Apply Guidelines Crack Amendment

       Mack also argues that the Court erred by failing to apply

the Sentencing Commission’s amendment to the crack cocaine

1
  Mack also cites the testimony of Assistant Attorney General
Lanny A. Breuer, head of the Justice Department’s Criminal
Division, given at a hearing before the Senate Judiciary
Committee’s Subcommittee on Crime and Drugs. Breuer testified
that “[the Justice Department] recognize[s] that federal courts
have the authority to sentence outside the guidelines in crack
cases or even to create their own quantity ratio.” Restoring
Fairness to Federal Sentencing: Addressing the Crack-Powder
Disparity: Hearing Before the S. Subcomm. on Crime and Drugs,
111th Cong. 12 (2009) (statement of Lanny A. Breuer, Assistant
Att’y Gen.). Breuer’s testimony merely recognizes the authority
of Kimbrough and Spears; it is unclear how it advances Mack’s
argument.
                                4
    Case 1:08-cr-00348-JKB   Document 199   Filed 07/26/10   Page 5 of 6



guideline.     Given that she argues the amendment should apply

“retroactively” to her sentence, she apparently believes that

the amendment was recently made.2      The Sentencing Commission

adopted the amendment reducing the crack-to-powder ratio in

2007.     See U.S.S.G., Supp. App. C., Amdt. 706 (Nov. 2007).

Thus, the Plea Letter’s stipulated guideline range--and that

which was calculated by the Court--accounted for the 2007

amendment.

        Mack has failed to show a basis for relief under § 2255.

Accordingly, her motion to vacate, set aside or correct sentence

will be denied.

        B. Certificate of Appealability

        A certificate of appealability (“COA”) must issue before a

petitioner may appeal the Court’s decision in a 28 U.S.C. § 2255

case.     See 28 U.S.C. § 2253(c)(1); Fed. R. App. P. 22(b).          A COA

may be issued “only if the applicant has made a substantial

showing of the denial of a constitutional right.”            28 U.S.C. §

2253(c)(2).     The petitioner “must demonstrate that reasonable

jurists would find the district court’s assessment of the

constitutional claims debatable or wrong,” Tennard v. Dretke,

542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S.


2
  It is possible that Mack believes Assistant Attorney General
Breuer’s testimony--which occurred several weeks after her
sentencing--represented the adoption of the amendment.
                                5
       Case 1:08-cr-00348-JKB   Document 199   Filed 07/26/10   Page 6 of 6



473, 484 (2000)), or that “the issues presented were adequate to

deserve encouragement to proceed further,” Miller-El v.

Cockrell, 537 U.S. 322, 335-36 (2003) (internal quotations

omitted).     Denial of a COA does not prevent a petitioner from

seeking permission to file a successive petition or pursuing her

claims upon receipt of such permission.

       Because Mack has not made a substantial showing of the

denial of her constitutional rights, this Court will not issue a

COA.

III. Conclusion

       For the reasons stated above, Mack’s motion to vacate, set

aside, or correct her sentence will be denied.




July 26, 2010                              _________/s/_________________
Date                                       William D. Quarles, Jr.
                                           United States District Judge




                                       6
